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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                     )
                                                              )                8:09CR97
                          Plaintiff,                          )
                                                              )
        vs.                                                   )                 ORDER
                                                              )
JACOB PUTNAM and                                              )
ALYSSA KERR,                                                  )
                                                              )
                          Defendants.                         )


        This matter is before the court on the motion for an extension of time by defendant Alyssa Kerr (Kerr)
(Filing No. 24). Kerr seeks an extension of twenty-one days in which to file pretrial motions in accordance with
the progression order (Filing No. 12). Kerr's counsel represents that government's counsel has no objection to

the motion.   Kerr's counsel represents that Kerr will file an affidavit wherein she consents to the motion and

acknowledges she understands the additional time may be excludable time for the purposes of the Speedy Trial

Act. Upon consideration, the motion will be granted as to all defendants.



        IT IS ORDERED:
        Defendant Kerr's motion for an extension of time (Filing No. 24) is granted. All defendants are given
until on or before May 28, 2009, in which to file pretrial motions pursuant to the progression order. The ends
of justice have been served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between May

7, 2009 and May 28, 2009, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendants' counsel require additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        DATED this 7th day of May, 2009.
                                                              BY THE COURT:
                                                              s/ Thomas D. Thalken
                                                              United States Magistrate Judge
